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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,                )
                                         )
                     Plaintiff,          )
                                         )
       v.                                )       CASE NUMBER:07-20007-04-JWL
                                         )
LATRISHA PORTER,                         )
                                         )
                     Defendant.          )
                                         )




                                         ORDER

       Now on this 1st day of August, 2007, this cause comes on to be heard upon the

motion of the United States, to dismiss the above-captioned case, and the Court being fully

advised in the premises, finds that said motion should be sustained.

       IT IS, THEREFORE, BY THE COURT DULY CONSIDERED AND ORDERED that

the above-captioned case be, and the same hereby is, dismissed as to the above named

defendant, without prejudice.


                                                 /s/ John W. Lungstrum
                                                 JOHN W. LUNGSTRUM
                                                 United States District Judge
